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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                )
COMMITTEE FOR A CONSTRUCTIVE    )
TOMORROW, et al.,               )
                                )
            Plaintiffs,         )
                                ) Case No. 24-cv-00774 (LLA)
      v.                        )
                                ) Hon. Loren L. AliKhan
UNITED STATES DEPARTMENT OF THE )
INTERIOR, et al.,               )
                                )
            Defendants.         )
                                )

                                    [PROPOSED] ORDER

       Upon consideration of Plaintiffs’ Motion for Summary Judgment, Plaintiffs’ declarations

in support of standing, the relevant briefing and legal authorities, and the other submissions

before this Court, for good cause shown,

       IT IS HEREBY ORDERED that Plaintiffs’ Motion for Summary Judgment is

GRANTED; and it is further

       ORDERED that the Biological Opinion is VACATED and set aside, and it is further

       ORDERED that Project construction shall not continue until the Bureau of Ocean Energy

Management and the National Marine Fisheries Service comply with the Endangered Species

Act.

       SO ORDERED on this ____ day of ____, 2024.



                                                     ________________________
                                                     Honorable Loren L. AliKhan
                                                     United States District Judge
